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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

HUAWEI TECHNOLOGIES CO. LTD.,         §
                                      §
                Plaintiff,            §
                                      §
v.                                        CIVIL ACTION NO. 2:20-CV-00030-JRG
                                      §
                                      §
VERIZON COMMUNICATIONS, INC.,         §
VERIZON BUSINESS NETWORK              §
SERVICES, INC., VERIZON ENTERPRISE    §
SOLUTIONS, LLC, CELLCO                §
PARTNERSHIP D/B/A VERIZON             §
WIRELESS, INC., VERIZON DATA          §
SERVICES LLC, VERIZON BUSINESS        §
GLOBAL LLC, VERIZON SERVICES          §
CORP.                                 §
             Defendants.              §
___________________________________   §
                                      §
                                      §
VERIZON BUSINESS NETWORK
                                      §
SERVICES, INC., CELLCO PARTNERSHIP
D/B/A VERIZON WIRELESS, VERIZON
                                      §
DATA SERVICES LLC, VERIZON            §
BUSINESS GLOBAL LLC, VERIZON          §
SERVICES CORP., AND VERIZON           §
PATENT AND LICENSING INC.             §
                                      §
         Counterclaim-Plaintiffs,     §
v.                                    §
                                      §
HUAWEI TECHNOLOGIES CO. LTD.,         §
HUAWEI TECHNOLOGIES USA, INC.,
                                      §
AND FUTUREWEI TECHNOLOGIES INC.
                                      §
                                      §
                    Counterclaim-
                                      §
                    Defendants.
                                      §

                 MINUTES FOR JURY SELECTION/JURY TRIAL DAY NO. 1
                HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                      July 7, 2021


OPEN: 09:31 AM                                          ADJOURN: 05:55 PM
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ATTORNEYS FOR PLAINTIFF:                          See attached
(to include Counterclaim-Plaintiffs)

ATTORNEYS FOR DEFENDANTS:                         See attached
(to include Counterclaim-Defendants)

LAW CLERKS:                                       Thomas Derbish
                                                  Cason Cole
                                                  Will Nilsson

COURT REPORTER:                                   Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                                 Andrea Brunson, CP

    TIME                                            MINUTES
 09:31 AM      Court opened. Court’s greeting, introduction and preliminary remarks to Jury Pool.
 09:41 AM      Court asked for announcements from the parties.
 09:44 AM      Court continued by providing case information and gave preliminary instructions
               to Jury Pool.
 09:53 AM      Prospective Jurors began introduction of themselves.
 10:30 AM      Court provided additional instructions to Jury Pool.
 10:34 AM      Voir dire on behalf of Plaintiff by Mr. Love.
 11:04 AM      Voir dire on behalf of Defendants by Mr. Dacus.
 11:31 AM      Court provided further instructions to Jury Pool.
 11:32 AM      Bench conference with counsel, Mr. Love and Mr. Dacus.
 11:37 AM      Bench conference completed.
 11:37 AM      Court instructions provided to Jury Pool. Court requested specific jurors to remain
               in courtroom while remainder of jurors recessed.
 11:40 AM      Remainder of jurors recessed.
 11:40 AM      Counsel approached bench.
 11:41 AM      Strike conference began with specifically named jurors. Counsel: Mr. Love and
               Mr. Dacus.
 12:06 PM      Strike conference concluded. Attorneys excused to exercise strikes.
 12:06 PM      Recess.
 12:34 PM      Court reconvened.
 12:34 PM      Off the record.
 12:35 PM      Court recessed.
 12:38 PM      Court reconvened.
 12:38 PM      Instructions given by the Court. Jurors selected. Remainder of Jury Pool excused.
 12:44 PM      Jurors sworn. Additional instructions given by the Court.
 01:03 PM      Jury recessed for lunch.
 01:04 PM      Court recessed for lunch.
 02:04 PM      Court reconvened.
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 02:05 PM    Court heard objection argument by Mr. Cassady on behalf of Huawei. Mr. Curran
             provided responsive argument on behalf of Defendants. Court reminded the parties
             to continue their meet and confer efforts.
 02:09 PM    Jury returned to courtroom.
 02:09 PM    Court gave preliminary instructions to the Jury. Jurors were provided notebooks.
 03:00 PM    Plaintiff’s opening statement by Mr. Caldwell.
 03:31 PM    Defendants’ opening statement by Mr. Dacus.
 03:59 PM    Opening statements concluded.
 04:00 PM    Jury excused for break.
 04:00 PM    Recess.
 04:27 PM    Court reconvened.
 04:27 PM    Jury returned to courtroom.
 04:28 PM    Rule invoked but does not include expert witnesses and corporate representatives.
 04:29 PM    Ms. Blaies introduced video deposition of Mr. Maarten Vissers.
 05:28 PM    Video deposition of Mr. Maarten Vissers concluded.
 05:29 PM    Witness sworn. Direct examination of Mr. Miguel Dajer by Mr. Cassady.
 05:48 PM    Bench conference.
 05:53 PM    Court provided further instructions to Jury.
 05:54 PM    Jury excused for the day until 8:30 AM tomorrow.
 05:55 PM    Court adjourned.
